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                      SOUTHERN DISTRICT OF FLORIDA

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 UNITED CTATES oF XMERICA,
                Plaintiff,
                                             NOTICE OF PERMANRNT
                                             APPEANAHCE AS COUNSEL
                                             OF RECORD
Xlcbp'/kJ/?+ nocbob
                   Defendant .
                                     /
       COMES N6W                     l;#                   , and files this
 appearance as counsel f r the above na e defendant ls). Counsel
 agrees to represent the defendant ls) for al1 proceedings arising
 out of the transactkon with which the defendant ts) is/are presently
 charged in the United States District Court in and for the Southern
 District of Florida .

      Counsel hereby states that this appearance is unconditional
 and in conformity with the requirements of Local General Rule 16
 and the Special Rules Governing the Admission and Practice of
 Attorneys .

       Counsel acknowledges responsibility to advise the defendant ls)
 of the right of appeal, to file a timely notice of appeal if
 requested to do so by the defendàntlslr and to pursue that appeal
 unless relieved by Court Order .

      FEE DISPUTES BETWEEN COUNSEL AND CLIENT SHALL NOT BE A BASIS
 FOR WITEDRA AL FROM THIS REPRESENTATION .

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                   Attorney:         az/far-      O
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                   FloridaBarNumber:          (n(4LJ/iJ
      The undersigned defendant ts) hereby             consent ls)
 representation of the above counsel .
